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                                                                                        APR 1 0 2018
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA                        :lq"k. : i 3
                                        Richmond Division


UNITED STATES OF AMERICA

V.                                                                    Criminal No. 3:13CR178

JOSUE IVAN CAMACHO-MENDOZA,

       Petitioner.


                                  MEMORANDUM OPINION


       Josue Ivan Camacho-Mendoza ("Petitioner"), a federal inmate proceeding pro se, brings

this motion pursuant to 28 U.S.C. § 2255 ("§ 2255 Motion," ECF No. 366). By Memorandum

Order entered on January 26,2018, the Court directed service on the Government. (ECF

No. 399.) On February 13,2018, the United States Post Office returned a copy of the January

26,2018 Memorandum Order that was mailed to Petitioner marked, "RETURN TO SENDER"

and "NO LONGER AT THIS ADDRESS."

       Petitioner failed to contact the Court to provide a current address. Accordingly, by

Memorandum Order entered on February 15, 2018, the Court explained that "Petitioner's failure

to contact the Court and provide a current address indicate [d] his lack of interest in prosecuting

this action." (ECF No. 401, at 1 (citing Fed. R. Civ. P. 41(b)).). The Court directed Petitioner to

notify the Court, within eleven (11) days of the date of entry thereof, of his desire to proceed.

(Id) The Court warned that a failure to respond would result in dismissal of this action. (Id.)

       On February 26,2018, the United States Post Office returned a copy of the February 15,

2018 Memorandum Order that was mailed to Petitioner, marked, "RETURN TO SENDER" and

"NO LONGER AT THIS ADDRESS." More than eleven (11) days have elapsed since the entry

of the February 15, 2018 Memorandum Order and Petitioner has not responded to notify the
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Court of his desire to proceed on his § 2255 Motion. Accordingly, the action will be

DISMISSED for failure to prosecute. Petitioner's § 2255 Motion (ECF No. 366) will be

DENIED.


       An appropriate Order will accompany this Memorandum Opinion.




                                                           United States District Judge
Date: Ai'K U         jib
Richmond, Virginia
